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 8                               IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11    STATE OF CALIFORNIA, et al.,                                       No. 4:19-cv-06013-JST
12                                               Plaintiffs,   Related Cases: 4:19-cv-05206-JST
                                                                              4:19-cv-06812-JST
13            v.
                                                                 WASHINGTON CATTLEMEN’S
14    DEB HAALAND, U.S. Secretary of the Interior,             ASSOCIATION AND PACIFIC LEGAL
      et al.,                                                     FOUNDATION’S NOTICE OF
15                                                                        APPEAL
                                               Defendants,
16                                                             Date Filed:   September 25, 2019
      WASHINGTON CATTLEMEN’S                                   Judge:        The Hon. Jon S. Tigar
17    ASSOCIATION, et al.,
18                           Private Landowner Intervenors.
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     Notice of Appeal
     No. 4:19-cv-06013-JST
      Case 4:19-cv-06013-JST Document 198 Filed 07/21/22 Page 2 of 12



 1                                            NOTICE OF APPEAL

 2          PLEASE TAKE NOTICE that Washington Cattlemen’s Association and Pacific Legal

 3   Foundation, hereby appeal the Court’s July 5, 2022, Order (ECF No. 193) and Final Judgment (ECF

 4   No. 194). This appeal is taken to the United States Court of Appeals for the Ninth Circuit. Pursuant

 5   to Ninth Circuit Rule 3-2(b), a Representation Statement that identifies all parties to this action,

 6   along with names, addresses, and telephone numbers of their respective counsel, is attached hereto.

 7          DATED: July 21, 2022.

 8                                                      Respectfully submitted,

 9                                                      CHARLES T. YATES
                                                        DAMIEN M. SCHIFF
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     Notice of Appeal
     No. 4:19-cv-06013-JST                          1
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 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11    STATE OF CALIFORNIA, et al.,                                     No. 4:19-cv-06013-JST
12                                             Plaintiffs,   Related Cases: 4:19-cv-05206-JST
                                                                            4:19-cv-06812-JST
13            v.
                                                               WASHINGTON CATTLEMEN’S
14    DEB HAALAND, U.S. Secretary of the Interior,           ASSOCIATION AND PACIFIC LEGAL
      et al.,                                                FOUNDATION’S REPRESENTATION
15                                                                    STATEMENT
                                             Defendants,
16                                                           Date Filed:   September 25, 2019
      WASHINGTON CATTLEMEN’S                                 Judge:        The Hon. Jon S. Tigar
17    ASSOCIATION, et al.,
18                         Private Landowner Intervenors.
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     Representation Statement
     No. 4:19-cv-06013-JST
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 1                                 REPRESENTATION STATEMENT

 2           The following is a list of all parties to the action and the names, addresses, and telephone

 3   numbers of their respective counsel, in accordance with Federal Rule of Appellate Procedure 12(b)

 4   and Ninth Circuit Rule 3-2(b).

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     Representation Statement
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     Representation Statement
     No. 4:19-cv-06013-JST                               3
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     Representation Statement
     No. 4:19-cv-06013-JST                          4
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     Representation Statement
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     No. 4:19-cv-06013-JST                         6
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     Representation Statement
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     Representation Statement
     No. 4:19-cv-06013-JST                        9
